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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                                      Honorable Stanley R. Chesler

         v.                                     :              Criminal No. 08-6 16 (SRC)

 JOSEPH A. FERRIERO


                                    PROTECTIVE ORDER

        The United States, by and through its attorneys, Ralph J. Marra, Jr., Acting United States

Attorney for the District of New Jersey, Thomas Calcagni, Joshua Drew, and Rachael Honig,

Assistant U.S. Attorneys, has moved this Court, under Federal Rule of Criminal Procedure

 16(d)(1) and the Court’s inherent power to protect the sound administration ofjustice, for a

protective order to limit the disclosure of certain mortgage loan documents (the “investigative

materials”) to the defendant, his attorneys, and others assisting in the defendant’s legal

representation and defense in the trial of the above-captioned matter, as these materials contain

sensitive and confidential information and pertain to an ongoing investigation.

        The Court having considered the Government’s application, and the defendant having no

objection and for good cause shown:

        IT IS on this   7         day of October, 2009.

       ORDERED that the application of the United States for a protective order is GRANTED,

limiting disclosure of the investigative materials to the defendant, his attorneys, and others

assisting in the defendant’s legal representation and defense for use in connection with the

defendant’s legal representation and defense in the trial of the above-captioned matter, and
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prohibiting those persons from revealing the investigative materials and their contents to any

other persons.




                                             HONORABLE STANLEY R. CJ-IESLER
                                             United States District Judge




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